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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

 SVITLANA DOE, et al.

                        Plaintiffs,
                                                  Civil Action No.: 1:25-cv-10495-IT
            – v. –

 KRISTI NOEM, in her official capacity as
 Secretary of Homeland Security, et al.

                        Defendants.


       NOTICE OF ERRATA FOR EXHIBIT TO EMERGENCY MOTION FOR
      PRELIMINARY INJUNCTION AND STAY OF ADMINISTRATIVE ACTION

       TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that Plaintiffs file this Notice of Errata to correct the error in the

DECLARATION OF ANDREA DOE, Doc. No. 24-19, filed on March 17, 2025, due to the

document being filed with an original declaration in Spanish and Certificate of Translation, but

missing the English translation of the original declaration. Plaintiffs hereby submit an

Amended Exhibit to include the English translation of the original declaration in Spanish.
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Dated: March 18, 2025                              Respectfully submitted,

                                                   /s/ John A. Freedman
Esther H. Sung (pro hac vice)                      John A. Freedman (BBO#629778)
Karen C. Tumlin (pro hac vice)                     Laura Shores (pro hac vice pending)
Hillary Li (pro hac vice)                          Katie Weng (pro hac vice pending)
Laura Flores-Perilla (pro hac vice)                ARNOLD & PORTER KAYE SCHOLER LLP
Brandon Galli-Graves (pro hac vice)                601 Massachusetts Ave, NW
JUSTICE ACTION CENTER                              Washington, D.C. 20001-3743
P.O. Box 27280                                     Telephone: (202) 942-5316
Los Angeles, CA 90027                              john.freedman@arnoldporter.com
Telephone: (323) 450-7272                          laura.shores@arnoldporter.com
esther.sung@justiceactioncenter.org                katie.weng@arnoldporter.com
karen.tumlin@justiceactioncenter.org
hillary.li@justiceactioncenter.org
laura.flores-perilla@justiceactioncenter.org       H. Tiffany Jang (BBO# 691380)
brandon.galli-graves@justiceactioncenter.org       ARNOLD & PORTER KAYE SCHOLER LLP
                                                   200 Clarendon Street, Fl. 53
                                                   Boston, MA 02116
Anwen Hughes (pro hac vice pending)                Telephone: (617) 351-8053
HUMAN RIGHTS FIRST                                 tiffany.jang@arnoldporter.com
75 Broad St., 31st Fl.
New York, NY 10004
Telephone: (212) 845-5244                          Daniel B. Asimow (pro hac vice)
HughesA@humanrightsfirst.org                       ARNOLD & PORTER KAYE SCHOLER LLP
                                                   Three Embarcadero Center
                                                   10th Floor
Justin B. Cox (pro hac vice)                       San Francisco, CA 94111-4024
LAW OFFICE OF JUSTIN B. COX                        Telephone: (415) 471-3142
JAC Cooperating Attorney                           daniel.asimow@arnoldporter.com
PO Box 1106
Hood River, OR 97031
(541) 716-1818                                     Robert Stout (pro hac vice pending)
justin@jcoxconsulting.org                          Sarah Elnahal (pro hac vice pending)
                                                   ARNOLD & PORTER KAYE SCHOLER LLP
                                                   250 West 55th Street
                                                   New York, NY 10019-9710
                                                   Telephone: (212) 836-8000
                                                   rob.stout@arnoldporter.com
                                                   sarah.elnahal@arnoldporter.com


                                                   Attorneys for Plaintiffs




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                                 CERTIFICATE OF SERVICE

I, John A. Freedman, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).


                                              /s/ John A. Freedman
                                              John A. Freedman




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